286 F.2d 149
    Allen M. LABOWITZ, Administrator of the Estate of NatalieNadine Labowitz, Deceased, Appellantv.Donald WILLIAMS, Defendant and Third-party Plaintiff.
    No. 13373.
    United States Court of Appeals Third Circuit.
    Argued Jan. 13, 1961.Decided Jan. 23, 1961.
    
      Gene K. Lynch, Pittsburgh, Pa.  (Dennis C. Harrington, McArdle, Harrington &amp; McLaughlin, Pittsburgh, Pa., on the brief), for appellant.
      Bruce R. Martin, Pittsburgh, Pa.  (Pringle Bredin &amp; Martin, Pittsburgh, Pa., on the brief), for appellee.
      Before GOODRICH, McLAUGHLIN and FORMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal by the plaintiff who is the administrator of the estate of a young woman who died following an automobile accident.  There is no contest in this Court regarding the liability of the defendant; the complaints are: (1) admission of incompetent testimony by a physician witness, and (2) alleged failure on the part of the trial judge to explain with sufficient clarity to the jury the basis for an award under the survival statute of Pennsylvania.  20 P.S. 320.601 et seq.
    
    
      2
      We find no merits in either contention.  The jury allowed nothing for loss of future earnings, which was fully within its discretion in view of the health picture of the unfortunate victim of the accident as the jury saw it.
    
    
      3
      There was no reversible error and the judgment will be affirmed.
    
    